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                             UNITED STATES BANKRUPTCY COURT
                               WESTERN DISTRICT OF MICHIGAN
                                      SOUTHERN DIVISION
                           ___________________________________________

  In re:                                               Chapter 7

  Jeffrey R. Cullen,                                   Case No. 17-05520-swd

                                       Debtor.         Hon. Scott W. Dales
                                                 /

      ORDER GRANTING RELIEF FROM THE AUTOMATIC STAY AND WAIVING THE
                        PROVISIONS OF FRBP 4001(A)(3)

           Claimant, Looking Glass River, LLC (“Claimant”), by and through its attorneys, Savage Legal
 Group, PC, and Debtor, Jeffrey R. Cullen, through his attorneys, Cuzydlo Law Group, PLLC, entered into
 a Stipulation to Lift the Automatic Stay real property located at 314 E. Washington, DeWitt, Michigan
 48820 (the Property), and for entry of an Order Waiving the Provisions of FRBP 4001(a)(3). After
 reviewing the Stipulation and the Court being fully advised, now therefore,
           IT IS HEREBY ORDERED that the automatic stay in this matter, effective pursuant to 11 USC
 362 be, and the same hereby is, lifted to allow Claimant to take all actions with respect to the said real
 property, that Claimant is entitled to take under applicable non-bankruptcy law.
           IT IS FURTHER ORDERED that this order is effective immediately upon entry by this Court,
 notwithstanding the provisions of FRBP 4001(a)(3).

                                             END OF ORDER

 Prepared by:
 Kimberly L. Savage (P68267)
 Savage Legal Group, PC
 1483 Haslett Road
 Haslett, Michigan 48840
 (517) 515-5000
 kim@savagelegalgroup.com




IT IS SO ORDERED.
Dated May 4, 2018
